First matter is Juan Carlos Garcia Benitez v. Mukasey. So he's not here? No, he is not, Your Honor. So you had a good trip out here from Washington? I was here yesterday, Your Honor. Well, good. Unless the Court has any questions, this is a new one for me. I've not encountered this. I can address this. You scared him away. I doubt that very much, Your Honor. Your Honor, I would do it. Pardon me? Do you want to rest on your briefs? First, Your Honor, certainly we can do that. There was one point that I'd like to make, and that is that there are two petitioners, Ms. Cortez and Mr. Garcia Benitez. No matter what happens with Mr. Garcia Benitez, the petition of Ms. Cortez needs to be dismissed because she admitted that she had departed the United States for well over a year. Weren't we waiting to get some transcripts? The Court had asked for the tape recording of the removal proceedings. Yeah, do we have that? No, Your Honor. I sent in a letter as soon as I had made the inquiry. It could not be obtained. I think the request had come in last Thursday. It could not be obtained by today. It's in the Federal. Or is it around? It's in the Federal Records Center is what the Executive Office told me. I asked them to initiate a retrieval. I cannot estimate how long that will take. Yeah. Because you know those transcribers are not too accurate. I personally didn't see any problems with the transcript, Your Honor, but I would, of course, comply with the Court's request. Unless there are any questions, given the nature of the situation, I would submit on the briefs. All right. Thank you. Thank you, Your Honor. Bye.